                    Case 3:01-cr-00117-SEC                 Document 262            Filed 08/29/05          Page 1 of 4
ミA0245D   (Rev.12/03)Judgmentin a C五    前 nal Case for Revoczttons
               Sheet l



                                       UNrrnnSrerpsDlsrmcr Counr
                       FOR THE                                E)isttct of                           PUERTO RICO

          脚   TED STATES OF AMERICA                                  JUDGMENTIN A CRIMINAL CASE
                             V.                                      (For Revocation ofProbadon or Supervised Releasc)


                ANTHONY NIEVES                                       Case Numberi              01‑CR‐           117(SEC)

                                                                     USM Numberi               10

                                                                     JOANNIE PLAZA‐          WttRTINEZ
                                                                     Defendant'sAttomey
THE DEFENDANT:

X   admitted guilt to violation of condition(s) 2, 3 and 6                            of the term of supervision.

!   was found in violation of condition(s)                                        after denial ofguilt.

コ陀defendant is attudicated ofthese
                            guilけ vlolatio■
                                       s:

Violatiom Number       Nature of Violation                           ViOlatiOn Ended
         2              FAILURE TO SUBMIT IItIS MONTHLY SU口                   ERVISION REPORT       5/05&6/05
          3            FAILURE TO REPORT TO PROBATION OFFICER.          6/20/05&6/29/05
                               FAILURE TO REPORT CHANGE OF RESIDING ADDRESS&
          6             EMPLOttENT.                                6/05




                              asprovidedin pages2 through
      The defendantis sentenced                                             4     of thisjudgment. The sentence
                                                                                                              is imposedpursuantto
             ReformAct of 1984.
the Sentencing
I   ttre defendanthasnot violatedcondition(s)                                   andis dischargedasto suchviolation(s)condition.




二 欅 躙                                    い マ 渠                                    緒 口 躙 :鞠搬 e
Defendant'sSoc.Sec.No.:                                              A【JG【JST 26、 2005
                                                                     Date oflmpositon ofJudgment
Defendant'sDateof Birth:

                                                                     S/Salvador E.Casellas
                                                                     SignatureofJudge
Defendant's Residence Address:




                                                                     SALVADOR E.CASELLAS.UtS.DISTRICT COURT
                                                                     Namc and Title ofJtdgc


                                                                     Auttst        26.2005

Defendant'sMailing Address
                    Case 3:01-cr-00117-SEC                 Document 262            Filed 08/29/05             Page 2 of 4
A0245D   (Rev.12/03 Judttntin a Ch前   nal Case for Revocatons
              Sttet 2‑―Imp品 o■ment


                                                                                                   Judment̲Page   2   of   4
DEFENDANT:          ANTHONY NIEVES
CASE NUMBER:         01‐      CR‐117(10)(SEC)


                                                        IMPRISONMENT

        The defendant is hereby committed to the custody of the United StatesBureau of Prisons to be imprisoned for a
total term of :  THREE (3) MONTIIS.




    X The court makesthe following recommendationsto the Bureau of Prisons:
      That defendant be provided with substanceabusetreatment.



    X The defendantis remandedto the custodyof the United StatesMarshal.

    n     The defendantshall surrenderto the United StatesMarshalfor this dishict:
          □ at                               fl     a.m.    !    p.*.        on

          n    asnotifiedby theUnited StatesMarshal.

    n     The defendantshall sunenderfor serviceof sentenceat the institution designatedby the Bureauof Prisons:

          fl   before2 p.m. on

          D    asnotified by the United StatesMarshal.

          n    asnotifiedby the Probationor PretrialServicesOffrce.

                                                                RETtrRN

I have executed ttisJudgment as followsi




          Defendant delivered on

                                                  with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL



                                                                        By
                                                                                            DEPUTY UNITED STATES MARSHAL
                     Case 3:01-cr-00117-SEC                    Document 262      Filed 08/29/05         Page 3 of 4
AO 245D        (Rev. l2l03) Judgmentin a Criminal Casefor Revocations
               Sheet3 - Supervised Release

                                                                                                 Judgment-Page -3-      of -4-
DEFENDANT:                   AIITHOIVY NIEVES
CASENUMBER:                  01-CR-117(10) (SEC)
                                                        SUPERVISEDRELEASE
                                                               releasefor a term of : TWENTY-FOUR (24) MONTHS.
Upon releasefrom imprisonment,the defendantshallbe on supervised

        The defendantmust report to the probation office in the district to which the defendantis releasedwithin 72 hours
of releasefrom the custodyof the Bureau of Prisons.
The defendantshall not commit another federal,stateor local crime.
The defendantshall not unlawfully possessa controlledsubstance.The defendantshall refrain from any unlawful useof a
controlled substance.The defendantshall submit to one drug test within 15 daysof releasefrom imprisonmentand at least
two periodic drug teststhereafter as determinedby the court.
tr        The abovedrug testingcondition is suspended,basedon the court's determinationthat the defendantposesa low risk
          future substanceabuse. (Check"if applicable.)
X         The defendantshall not possessa firearm, destructivedevice,or any other dangerousweapon. (Check' if applicabte.)
tr        The defendantshall cooperatein the collectionof DNA as directedby the probation officer. (Checlqif applicable.)
tr        The defendantshall registerwith the statesexoffenderregistration agencyin the statewhere the defendantresides,
          or is a student,as directed by the probation officer. (Checlqif applicable.)
tr        The defendantshall participate in an approvedprogram for domesticviolence. (Check,if applicable.)
       If this judgment imposesa fine or restitution, it is be a condition of supervisedreleasethat the defendantpay in
accordancewith the Scheduleof Paymentssheetof this judgment.
        The defendantmust comply with the standard conditionsthat have been adopted by this court as well as with any
additional conditionson the attachedpage.
                                       STANDARD CONDITIONSOF SUPERVISION
     l)    the defendantshall not leavethejudicial district without the permissionof the court or probationofficer;
     2)    the defendantshallreportto theprobationofficer andshallsubmita truthful andcompletewritten reportwithin thefirst five days
           of eachmonth;
     3)    the defendantshall answertruthfully all inquiriesby the probationofficer and follow the instuctions of the probationofficer;
    4)     the defendantshall supporthis or her dependentsandmeetother family responsibilities;
     5)    thedefendantshallwork regularlyat a lawful occupation,unlessexcusedby theprobationofficer for schooling,taining, or other
                    reasons;
           acceptable
     6)    the defendantshall notify the probationofficer at leastten daysprior to any changein residenceor employment;
     7)                                          useof alcoholandshallnot purchase,
           the defendantshallrefrainfrom excessive                                 possess,
                                                                                          use,dishibute,or administerany
           contolled substance or anyparaphernalia                                exceptasprescribedby a physician;
                                                 relatedto any contolled substances,
     8)                                                                 areillegally sold, used,distributed,or administered;
           the defendantshall not frequentplaceswherecontolled substances
     9)    thedefendantshallnot associatewith anypersonsengaged                                          with anypersonconvicted
                                                                  in criminalactivityandshallnot associate
           of a felony, unlessgrantedpermissionto do so by the probation officer;
l0)        the defendantshall permit a probationofficer to visit him or her at anytime at homeor elsewhereandshallpermit confiscation
           of any contaband observedin plain view of the probationofficer;
                                                                                                 by a law enforcement
                                                                     of beingarrestedor questioned
11) thedefendantshallnotify theprobationofficer within seventy-twohours
    officer;
12) the defendantshallnot enterinto anyagreementto act asaninfonner or a specialagentof a law enforcementagencywithout the
    permissionof the court; and
13)        as directedby the probationofficer, the defendantshall notify third partiesofrisks that may be occasionedbythe defendant's
           criminal record or personalhistory or characteristicsand shall permit the probationofficer to make suchnotilications and to
           confirm the defendant'scompliancewith suchnotification requirement.
               Case 3:01-cr-00117-SEC                Document 262   Filed 08/29/05   Page 4 of 4
AO 245D   @ev. 12103)Judgmentin a Criminrl Casefor Revocations
          Sheet3.{ - SupervisedRelease
                                                                              Judgment-Pace
                                                                                         -L        or -4-
DEFE*DA'\T:            AI\THOITYI*IEVES
CASE NUMBER:           01-CR-117(IOXSEC)

                             ADDITIONAL ST]PERVISEDRELEASE TERMS
1. The defendantwill not commit anotherfederal,stateor local crime and shall not possess
                                                                                       firearmsor
controlledsubstances and complywith the standardconditionsof supervisedreleaseadoptedby this
Court.

2. The defendant shall participate in a mental health program for evaluationand/or treatment
purposes,as arranged and approvedby the U.S. Probation Officer until duly dischargedby authorized
program personnelwith the approvalof the U.S.ProbationOfficer.

3. The defendantshall enter into an in-patientor out-patientsubstanceabusetreatmentprogram,and
shall submit to urinalysisand other testing,the detailsof suchtreatmentto be arrangedby the U.S.
ProbationOfficer, but the number of urine samplesshall not exceed104samplesa year.While in
treatmentand after dischargefrom treatment,the defendantis to abstainfrom the useof alcohol
and/or illegal drugs. The defendantis required to contribute to the costso f servicesrendered(co-
payment)in an amount approvedby the Probation Oflicer basedon the ability to pay or availabitity of
third party payment.

4. The defendantshall submit his person,residence,officeor vehicleto a search,conductedby a U.S.
ProbationOfficer at a reasonabletime and in a reasonablemanner,basedupon reasonablesuspicion
of contraband or evidenceof a violation of condition of releaselfailure to submit to a searchmay be
groundsfor revocation;the defendantshallwarn any other residentsthat the premisesmay be subject
to searchespursuantto this condition.

5. The defendantshall providethe U.S.ProbationOfficer accessto any financial informationupon
requestand shall produceevidenceto the U.S.ProbationOfficer to the effectthat incometax returns
havebeenduly filed within the Commonwealthof Puerto Rico Department of Treasury as required by
law.
